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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

DE IVORY SMITH, ET AL.                                  CIVIL ACTION

VERSUS                                                  NO. 14-2623

MANHATTAN MANAGEMENT COMPANY,                           SECTION "B"(2)
LLC, ET AL.

                               JUDGMENT

     Considering the Joint Motion for Approval of Settlement and

the Court’s previously filed Order and Reasons,

     IT IS ORDERED that the Motion is GRANTED and that the terms

of the Stipulation of Settlement are hereby APPROVED and ADOPTED

by reference. See Rec. Docs. 96, 96-1.

     IT IS FURTHER ORDERED that, pursuant to the terms of the

Stipulation of Settlement and the prior Order and Reasons

relative to the Motion to Fix Attorney’s Fees and Costs filed by

Plaintiffs, Defendants are hereby ordered to pay to Plaintiffs the

sum of $37,931.99, representing reasonable attorney’s fees and

costs as set forth in the Fair Labor Standards Act, 20 U.S.C. §

201, et seq.

     New Orleans, Louisiana, this 10th day of March, 2016.




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                                        UNITED STATES DISTRICT JUDGE
